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                                                                           FORM 11-1


UNITED STATES COURT OF INTERNATIONAL TRADE                                   FORM 11


  The Mosaic Company
                            Plaintiff,
                                               Court No.:                23-00246
         v.
  United States
                            Defendant.



                          NOTICE OF APPEARANCE

        PLEASE TAKE NOTICE that, pursuant to Rule 75(b) of the Rules of the

United States Court of International Trade, the undersigned appears as attorney
                            The Mosaic Company
for plaintiff             , ______________________________, in this action

           and for the parties indicated in the actions listed on the attached

           schedule

and requests that all papers be served on him/her.

          The individual attorney in the undersigned firm, corporate law

          department, or the Government, who is responsible for the litigation, is
          Jeffrey I. Kessler
          _____________________________________________.
      11/28/2023
Date: _____________________                     Alexandra Maurer
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